
USCA1 Opinion

	





          January 18, 1995      [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 94-1543                        FEDERAL DEPOSIT INSURANCE CORPORATION,                                 Plaintiff, Appellee,                                          v.                                   MONTERREY, INC.,                               Defendants, Appellants.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. Raymond L. Acosta, U.S. District Judge]
                                             ___________________                                 ____________________                                        Before                               Torruella, Chief Judge,
                                          ___________                           Campbell, Senior Circuit Judge,
                                     ____________________                              and Boudin, Circuit Judges.
                                          ______________                                 ____________________            John M.  Garcia with  whom Garcia  &amp; Fernandez  was  on brief  for
            _______________            ___________________        appellants.            David A. Felt, Counsel,  with whom Colleen  B. Bombardier,  Senior
            _____________                      ______________________        Counsel,  Ann S.  Duross, Assistant  General Counsel,  Federal Deposit
                  ______________        Insurance  Corporation, and Gustavo  A. Gelpi  and Feldstein,  Gelpi &amp;
                                    _________________      ___________________        Gotay were on brief for appellee.
        _____                                 ____________________                                 ____________________



                      Per Curiam.   Having heard oral  argument, and read
                      __________            the parties' briefs and the record, we affirm the judgment of            the district court.   We see no need to  add substantially to            the rationale in the district court's opinion and order.  See
                                                                      ___            Federal Deposit Ins.  Corp. v. Monterrey, Inc.,  847 F. Supp.
            ___________________________    _______________            997 (D.P.R. 1994).                      While,  on appeal,  appellants  still  contest  and            struggle  to overcome the burden of D'Oench, Duhme &amp; Co. Inc.
                                                _________________________            v. FDIC, 315 U.S.  447 (1942), the district court's  analysis
               ____            of that issue is plainly correct.  See also FDIC v. Caporale,
                                               ________ ____    ________            931 F.2d  1 91st Cir. 1991).   We find nothing  convincing in            appellants'  arguments  based  on   the  purported  lack   of            consideration to  Monterrey.  Monterrey was  not incorporated            at the relevant time, and lack of consideration is unavailing            for other reasons set out by appellee.                        Nor,  viewing the summary  judgment materials  in a            light most favorable to plaintiff,  do we find anything  that            could overcome  the presumption of liability  of the conjugal            partnership.   Mr. Pou's alleged reservations  on this score,            supposedly  made verbally to agents of the failed bank, could            not accomplish this for present purposes.  While Mrs. Pou did            not sign the  note, the conjugal  partnership was liable  for            the  debts and obligations of either  of its members.  As one            partner,  Mrs.  Pou stood  to benefit  from  use of  the loan            proceeds  to reduce  her husband's  debt unless  it  could be                                         -2-



            demonstrated, for some reason,  that that particular debt was            beyond the  joint and  several liability of  the partnership.            Evidence showing this is  lacking.  See FDIC v.  Perez Perez,
                                                ___ ____     ___________            637  F.  Supp. 358  (D.P.R.  1986); WRC  Properties,  Inc. v.
                                                ______________________            Santana,  16 Official  Translations of  the Supreme  Court of
            _______            P.R. 160 (1985).                      Nor  is there reason to  treat the Mi Tacita stock,            although  registered to Mr. Pou, as beyond the purview of the            conjugal partnership.   No reason is suggested that the stock            should be deemed  to belong  to Mr.  Pou exclusively,  rather            than forming part of  the pool of assets within  the conjugal            partnership and belonging to both spouses.  If so, the use of            loan proceeds to pay Mi Tacita's debt and to whatever extent,            enhance the value of its  stock, benefited both partners, not            just Mr. Pou alone.                      We  have considered appellants' other arguments and            are satisfied that the judgment below was correctly rendered.                      Affirmed.  Costs for appellee.
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